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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-2(c)                                  Order Filed on November 10, 2021
     Friedman Vartolo LLP                                                             by Clerk
     85 Broad Street- Suite 501                                                             U.S. Bankruptcy Court
     New York, New York 10004                                 Case No.: 17-28107-ABA        District of New Jersey
     bankruptcy@friedmanvartolo.com
     T: (212) 471-5100                                        Chapter: 13
     F: (212) 471-5150
     Attorneys for Nationstar Mortgage D/B/A Mr. Cooper       Hearing Date:
     as Servicer for New Residential Loan Trust 2017-1        October 19, 2021 at 10:00AM

                                                              Hon. Judge:
     In Re:
                                                              Andrew B. Altenburg, Jr.
     Robert McEady

     Debtor(s)




                 CONSENT ORDER RESOLVING MOTION TO VACATE STAY

    The consent order set forth on the following pages, numbered two (2) through three (3), is hereby
                                              ORDERED.




DATED: November 10, 2021
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 Applicant:     Nationstar Mortgage D/B/A Mr. Cooper as Servicer for New Residential Loan
                Trust 2017-1
 Applicant’s Counsel:         Friedman Vartolo LLP
 Debtor’s Counsel:            McDowell Law, PC
 Property (Collateral):       4011 Hermitage Dr #0, Voorhees, NJ 08043
 Relief Sought:
    • Relief from Automatic Stay

 For good cause shown, it is ORDERED that Applicant’s Motion is resolved, subject to the
 following conditions:

    1. Status of post-petition arrearages:
        ☐      The Debtor(s) is/are overdue for _ months, from ________ to __________.

        ☐      The Debtor(s) is/are overdue for __ payments at _______ per month.
        ☐      The Debtor(s) is/are due for ___________ in accrued late charges.
        ☐      The Debtor(s) is/are due for $________ in attorney’s fees and costs.
        ☐      Applicant acknowledges suspense funds in the amount of $__________.
        Total Arrearages Due: $_____________


    2. Debtor(s) must cure all post-petition arrearages, as follows:
        ☒      Immediate payment shall be made in the amount of __________ .
        ☒      Beginning on November 1, 2021, regular monthly mortgage payments shall
        continue to be made.
        ☐      Beginning on _____________, additional monthly cure payments shall be made
        in the amount of ________ for ________ months.
        ☐      The amount of ___________ shall be capitalized in the debtor’s Chapter 13 plan.
        Said amount shall be set up on Trustee’s ledger as a separate Claim. Debtor(s) shall file a
        Modified Plan within 10 days from the entry of this Order to account for the additional
        arrears to be paid to the secured creditor via Chapter 13 Plan and to adjust monthly
        payments to the Chapter 13 Trustee accordingly.
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    3. Payments to the Secured Creditor shall be made to the following address:
 Payments:              Nationstar Mortgage
                        P.O. Box 619094
                        Dallas, TX 75261

    4. In the event of default:

        ☒       Should the Debtor(s) fail to make any of the above captioned payments, or if any
 regular monthly mortgage payment commencing after the cure of the post petition delinquency is
 more than thirty (30) days late, counsel shall file a Certification of Default with the Court, a copy
 of the Certification shall be sent to the Chapter 13 Trustee, the Debtor(s), and Debtor(’s) attorney
 and the court shall enter an Order granting relief from the Automatic Stay.


        ☒       In the event the Debtor(s) converts to a Chapter 7 during the pendency of this
 bankruptcy case, the Debtor(s) shall cure all arrears within ten (10) days from the date of
 conversion in order to bring the loan contractually current. Should the Debtor(s) fail to bring the
 loan contractually current, counsel shall file a Certification of Default with the Court, a copy of
 the Certification shall be sent to the Chapter 13 Trustee, the Debtor(s), and Debtor(‘s) attorney
 and the court shall enter an Order granting relief from the Automatic Stay.


        ☒       This agreed order survives any loan modification agreed to and executed during
 the instant bankruptcy. If any regular mortgage payment due after the execution of a loan
 modification is more than thirty (30) days late, counsel shall file a Certification of Default with
 the Court, a copy of the Certification shall be sent to the Chapter 13 Trustee, the Debtor(s), and
 Debtor(’s) attorney and the court shall enter an Order granting relief from the Automatic Stay
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    5. Award of Attorney’s Fees:


        The Applicant is awarded attorney’s fees of $400.00 and costs of ________.
                       The fees and costs are payable:
                       ☐      Attorney’s fees and costs have been included in the Consent Order.
                       ☒      Through the Chapter 13 plan. The fees/costs shall be set up as a s
                              separate claim to be paid by the Standing Trustee and shall be paid
                              as an administrative claim.
                       ☐      To the Secured Credtior within ________ days
                       ☐      Attorney’s fees are not awarded.
                       ☐      Movant reserves its right to file a Post-Petition Fee Notice for fees
                              and costs incurred in connection with the Motion for Relief.




 The undersigned hereby consent to the form and entry of the foregoing order.




 ______________________________                              /s/ Jonathan Schwalb, Esq.
 Thomas G. Egner, Esq.                                       Jonathan Schwalb, Esq.
 Attorney for Debtor                                         Attorney for Secured Creditor
